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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

li-cr-93-01 (JSR)
ORDER
STAVOSH HENAREH

Defendant(s},

JED S. RAKOFF, U.S.D.J.

The representation of the defendant in the above-captioned
matter is assigned to the C.J.A. Attorney on duty November 4,
2020, Marc L. Greenwald, for the purpose of supplementing, if
deemed necessary, the pro se motion for reduction in sentence
received by the Court on November 2, 2020 (to be docketed).
Counsel for the Government and defense counsel should jointly
call the Court at 212-805-0401 for the purpose of setting a

briefing schedule.

30 ORDERED

US OZ
JED S, RAKOFF, U.S.D.Jd.

Dated: New York, New York
November 4, 2020

 
